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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

    AMENDED EMERGENCY ORDER IN LIGHT OF THE COVID-19 PANDEMIC

                                            Robert Pitman
                                      United States District Judge

        The current circumstances are extraordinary and unprecedented. As always, though, the
Court strives to adjudicate its cases fairly and safely and anticipates that litigants will be flexible,
decent, and patient with each other and the Court.

         Recognizing the difficulties parties may face trying to litigate during this period of
uncertainty, the Court issues the following order to facilitate the timely resolution of civil disputes
while the Western District of Texas is closed as described in Chief Judge Orlando L. Garcia’s
Supplemental Order on April 15, 2020.1 As of April 15, 2020, “[a]ll civil and criminal bench and jury
trials scheduled to begin on any date from now through June 1, 2020, are continued, to a date to be
reset by each Presiding Judge.”2 If Chief Judge Garcia extends the closure again, this Amended
Emergency Order automatically tracks and aligns with that extension until the closure is lifted, even
without an amendment by Judge Pitman.

       Unless otherwise ordered by the Court, this Amended Emergency Order in Light of the
COVID-19 Pandemic (“Emergency Order”) applies to all civil matters before Judge Pitman. It
supplements the Federal Rules of Civil Procedure and the Local Rules of the United States District
Court for the Western District of Texas.

                          I. COMMUNICATIONS WITH CHAMBERS

        Judge Pitman’s chambers is closed, and Judge Pitman and his staff are working remotely. If
you have a question or need to communicate with chambers, please contact Judge Pitman’s
courtroom deputy, Julie Golden, at Julie_Golden@txwd.uscourts.gov. You also may call chambers
at 512.391.8824 and leave a message. Although voicemail will be checked regularly, the fastest way
to communicate with chambers is to send an email. If you send an email or leave a voicemail, please
include your name, your phone number, the case number, and a brief description of your inquiry.


1 See Supplemental Order Regarding Court Operations under the Exigent Circumstances Created by the COVID-19
Pandemic (W.D. Tex. filed Apr. 15, 2020), https://www.txwd.uscourts.gov/wp-
content/uploads/2020/03/SupplementalOrderCOVID19-041520.pdf [hereinafter April 15 Order]. See also Amended
Order Regarding Court Operations Under the Exigent Circumstances Created by the COVID-19 Pandemic (W.D. Tex.
filed Mar. 24, 2020), https://www.txwd.uscourts.gov/wp-
content/uploads/2020/03/Amended%20Order%20Re%20Court%20Operations%20032420.pdf (amending the March
20 Order); Order Regarding Court Operations under the Exigent Circumstances Created by the COVID-19 Pandemic
(W.D. Tex. filed Mar. 20, 2020), https://www.txwd.uscourts.gov/wp-content/uploads/2020/03/ORDER-re-Court-
Operations-032020.pdf; Order Regarding Court Operations under the Exigent Circumstances Created by the COVID-
19 Pandemic (W.D. Tex. filed Mar. 13, 2020), https://www.txwd.uscourts.gov/wp-content/uploads/2020/03/Order-
Re-COVID-19.pdf.
2 April 15 Order at 1.


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                    II. EMERGENCY MOTIONS AND PROCEEDINGS

        Motions for temporary restraining orders or preliminary injunctions and other emergency
applications for relief shall be filed electronically using CM/ECF, if possible. Parties shall
immediately provide the Court with courtesy copies of any motion or application seeking
emergency relief by sending those documents to courtroom deputy Julie Golden at
Julie_Golden@txwd.uscourts.gov. Unless otherwise ordered by the Court, all conferences, hearings,
and proceedings will be held by phone or videoconference. Briefing deadlines will be set on a case-
by-case basis.

       Approximately 24 hours before the scheduled proceeding, the Court will provide the access
information for the phone or video conference.

      At least 24 hours before the scheduled proceeding, the parties shall file the following
documents, as applicable:

       1. The names of witnesses who the parties intend to have appear;
       2. The exhibits that the parties intend to offer; and
       3. A single document detailing any objections the parties have to the admissibility of each
          exhibit. The parties are encouraged to reach an agreement on the admissibility of all
          exhibits. If, after conferring in good faith, they cannot reach an agreement, the Court
          will consider objections.

                         III. NON-EMERGENCY PROCEEDINGS

        Unless otherwise ordered by the Court, all conferences, hearings, and proceedings will be
held by phone or video conference. Approximately 24 hours before the scheduled proceeding, the
Court will provide the access information for the phone or video conference.

      At least 24 hours before the scheduled proceeding, the parties shall file the following
documents, as applicable:

       1. The names of witnesses who the parties intend to have appear;
       2. The exhibits that the parties intend to offer; and
       3. A single document detailing any objections the parties have to the admissibility of each
          exhibit. The parties are encouraged to reach an agreement on the admissibility of all
          exhibits. If, after conferring in good faith, they cannot reach an agreement, the Court
          will consider objections




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                                     IV. PRO SE LITIGANTS

        Pro se parties are encouraged to (1) consent to electronic service via CM/ECF or email or
(2) seek the Court’s permission to file documents using CM/ECF. During the period of this Order,
the Court allows pro se parties to obtain permission to use CM/ECF by sending an email to
courtroom deputy Julie Golden at Julie_Golden@txwd.uscourts.gov that includes the following
information:

        1. A request to file electronically and receive notices electronically; and
        2. The email address you want to use for electronic filing and to receive electronic notices.

                   V. SCHEDULING, DEADLINES, AND TRIAL DATES

        The Court encourages parties to litigate their cases without unnecessary delay. For cases at
any stage of litigation, the deadlines set out in the Federal Rules of Civil Procedure, the Local Rules,
and the scheduling order for the case, if applicable, continue to govern, except as supplemented by
this Emergency Order. Unless the parties jointly inform the Court otherwise and consistent
with the exceptions below, parties are expected to proceed with their case and follow all
applicable standard deadlines and rules.

        However, if parties perceive they will encounter difficulties because of the circumstances
caused by COVID-19 or if the parties cannot proceed safely, the parties shall follow the procedures
set out below based on the stage of litigation.

        The Court also encourages all parties to reach agreements about extending answer,
response, reply, and discovery deadlines. Consistent with the Local Rules, the Court advises parties
to make special efforts to confer with the other parties in the case to determine whether they
oppose the relief sought and notify the Court in the certificate of conference whether the relief
sought is opposed or unopposed. If a request is agreed or unopposed, the Court typically can rule
on those requests quickly. In the absence of an agreement between the parties, the Court will be
favorably disposed to requests to extend deadlines.

                               A. Cases without Scheduling Orders

        For early-stage cases in which no proposed scheduling order has been filed, the parties in
those cases are not required to file an agreed proposed scheduling order until June 1, 2020. If the
Court previously ordered the parties to submit an agreed proposed scheduling order by a date
before June 1, 2020, this Emergency Order supersedes, and the parties are not required to file an
agreed proposed scheduling order until June 1, 2020. After the Western District reopens, the Court
will schedule initial pretrial conferences.

         For early-stage cases in which an agreed proposed scheduling order has been filed, the
Court will assume the parties intend to comply with those deadlines. Should the parties anticipate
difficulty meeting those deadlines, they shall file an agreed revised proposed scheduling order as
soon as practicable. The Court encourages the parties to reach an agreement on all revised
deadlines. In the absence of an agreement between the parties on the path forward, the Court will
be favorably disposed to requests to revise the agreed proposed scheduling order. Because the
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Court will not set trial dates until the Western District reopens, the Court will enter scheduling
orders or revised scheduling orders without trial dates.

                                   B. Cases with Scheduling Orders

        For cases with a scheduling order in place, if any party perceives difficulties in meeting the
set deadlines because of the circumstances caused by COVID-19, the parties in that case shall
confer in good faith and file a revised agreed proposed scheduling order as soon as practicable.
Again, the Court encourages the parties to reach an agreement on all proposed modifications to the
scheduling order. In the absence of an agreement, the Court will be favorably disposed to requests
to revise the scheduling order. Because the Court will not set trial dates until the Western District
reopens, the Court will enter revised scheduling orders without trial dates.

                                        C. Cases Awaiting Trial

         For cases set for trial before June 1, 2020, the trial, final pretrial conference, and all pretrial
filing deadlines per Local Rule CV-16(e) have been continued and will be reset on the Court’s
calendar after the Western District reopens. The Court will endeavor to prioritize those cases for
resetting while bearing in mind that the parties may need time to (re)prepare for trial after a long
period of stagnation. The Court anticipates setting phone conferences in those cases to select new
trial dates after the Western District reopens.

         For cases that have completed discovery and dispositive motions practice and currently
have a trial date set for June 1, 2020 or later, the Court cannot predict with certainty whether
appointed trial dates will stand but will attempt to provide guidance to parties and their counsel as
more information becomes available. Absent changed circumstances, all trial dates set June 1, 2020
or later will remain on the Court’s calendar, but the Court may not yet set final pretrial conferences.
As the trial date approaches, the Court may reevaluate the circumstances and set a phone
conference with the parties to select a new trial date. If the Western District closure is extended
beyond June 1, 2020, then all trials affected by that extension will be continued. The Court would
endeavor to prioritize those cases for resetting while bearing in mind that the parties may need time
to (re)prepare for trial after a long period of stagnation. The Court anticipates setting phone
conferences in those cases to select new trial dates after the Western District reopens.


  SIGNED on April 17, 2020.

                                                   _____________________________________
                                                   ROBERT PITMAN
                                                   UNITED STATES DISTRICT JUDGE




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